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                    IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


  CSX TRANSPORTATION, INC.,

               Plaintiff,

  v.                                            Civil Action No. 5:05CV202
                                                                   (STAMP)
  ROBERT V. GILKISON,
  PEIRCE, RAIMOND & COULTER, P.C.,
  a Pennsylvania professional corporation
  a/k/a ROBERT PEIRCE & ASSOCIATES, P.C.,
  a Pennsylvania professional corporation,
  ROBERT PEIRCE, JR., LOUIS A. RAIMOND,
  MARK T. COULTER, and RAY HARRON, M.D.,

               Defendants.


                          MEMORANDUM OPINION AND ORDER
                     GRANTING IN PART AND DENYING IN PART
         MOTION TO DISMISS COUNTS 1 THROUGH 4 OF AMENDED COMPLAINT,
       DENYING MOTION TO DISMISS COUNT 6 OR ALTERNATIVELY TO STRIKE,
            DENYING AS MOOT MOTION FOR LEAVE TO AMEND COMPLAINT,
                    DENYING AS UNTIMELY GILKISON’S MOTION
                      TO JOIN IN MOTIONS OF CO-DEFENDANTS
                     AND DENYING MOTION FOR ORAL ARGUMENT

                                I.   Background

          The genesis, facts and procedural history of this case are

  familiar territory.        This Court therefore dispenses with a full

  recitation of the same.       For the purpose of resolving the motions

  currently pending before it, the Court believes that the following

  abbreviated summary is sufficient.           On December 22, 2005, the

  above-styled civil action was commenced by CSX Transportation, Inc.

  (“CSX”) based upon allegations that defendants, Robert Gilkison

  (“Gilkison”) and Peirce, Raimond & Coulter, P.C. (“the Peirce

  Firm”), knowingly and negligently aided a client, Ricky May, in
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  pursuing a fraudulent asbestosis claim against CSX.           The complaint

  asserted fraud, negligence1 and punitive damages claims against

  Gilkison and the Peirce Firm.

        On June 20, 2007, this Court granted CSX leave to amend its

  complaint to state additional fraud claims with the requisite

  particularity.     CSX filed its amended complaint on July 5, 2007,

  adding claims for civil RICO, civil RICO conspiracy, common law

  fraud and civil conspiracy against four new defendants-–Robert

  Peirce, Jr., Louis A. Raimond, Mark Coulter (collectively “the

  lawyer    defendants”)     and   Ray   Harron,    M.D.   (“Dr.   Harron”).2

  Thereafter, the lawyer defendants filed a motion to dismiss Counts

  1 through 4 (the newly added counts) of the plaintiff’s amended

  complaint. Additionally, the Peirce Firm filed a motion to dismiss

  Count 6 of the amended complaint or, in the alternative, to strike

  paragraphs 1 through 102, 103, 144, 153 and 179 of the amended

  complaint.     The Peirce Firm also joined in the motion to dismiss

  filed by the lawyer defendants.        Both motions to dismiss have been

  fully briefed by the parties.

        In the course of responding to the motions to dismiss, CSX

  filed a motion for leave to amend complaint in which it requests


        1
        On March 16, 2007, pursuant to a motion by the Peirce Firm,
  this Court granted partial judgment on the pleadings as to the
  negligence counts.
        2
        On January 4, 2008, Dr. Harron filed a motion to dismiss the
  amended complaint. That motion is not addressed herein and will be
  resolved by separate order.

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  leave for its previously filed amended complaint in the event this

  Court concludes that it exceeded the scope of the leave to amend

  permitted by this Court’s June 20, 2007 order.             This motion has

  also been fully briefed.         On September 25, 2007, nearly a month

  after the above motions to dismiss were due, defendant Gilkison

  filed a motion to join in the motions, memoranda and replies of his

  co-defendants,     as   applicable.       Finally,   CSX   filed   a   motion

  requesting oral argument on the defendants’ motions to dismiss.

                             II.    Applicable Law

        The lawyer defendants’ motion to dismiss is predicated upon

  Federal Rule of Civil Procedure 12(b)(6). In assessing a motion to

  dismiss for failure to state a claim under Federal Rule of Civil

  Procedure 12(b)(6), a court must accept the factual allegations

  contained in the complaint as true.          See Erikson v. Pardus, 127

  S.Ct. 2197, 2200 (2007)(citing Bell Atl. Corp. v. Twombly, 127

  S.Ct. 1955, 1965 (2007 )); Advanced Health Care Servs., Inc. v.

  Radford Cmty. Hosp., 910 F.2d 139, 143 (4th Cir. 1990).                  The

  purpose of a motion under Rule 12(b)(6) is to test the formal

  sufficiency of the statement of the claim for relief; it is not a

  procedure for resolving a contest about the facts or the merits of

  the case.      5B Charles Alan Wright & Arthur R. Miller, Federal

  Practice and Procedure § 1356, at 294 (3d ed. 2007).

        A Rule 12(b)(6) motion must be distinguished from a motion for

  summary judgment under Federal Rule of Civil Procedure 56, which


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  goes to the merits of the claim and is designed to test whether

  there is a genuine issue of material fact.            Id. § 1356, at 298.

  For purposes of the motion to dismiss, the complaint is construed

  in the light most favorable to the party making the claim and

  essentially    the   court’s    inquiry   is   directed   to   whether   the

  allegations constitute a statement of a claim under Federal Rules

  of Civil Procedure 8 or 9.        Id. § 1357, at 304, 310.        “[O]nce a

  claim has been stated adequately, it may be supported by showing

  any set of facts consistent with the allegations in the complaint.”

  Twombly, 127 S. Ct. at 1969.

        A motion to dismiss for failure to state a claim under Rule

  12(b)(6) should be granted only in limited circumstances.             Rogers

  v. Jefferson-Pilot Life Ins. Co., 883 F.2d 324, 325 (4th Cir.

  1989). A dismissal under Rule 12(b)(6) is granted only in cases in

  which the facts as alleged in the complaint clearly demonstrate

  that the plaintiff does not state a claim and is not entitled to

  relief under the law.      5A   Wright & Miller, supra § 1357, at 344-

  45.

        The Peirce Firm’s motion to dismiss or alternative motion to

  strike is based on Federal Rule of Civil Procedure 12(f).                Rule

  12(f) states in relevant part:

        Upon motion made by a party before responding to a
        pleading or, if no responsive pleading is permitted by
        these rules, upon motion made by a party within 20 days
        after the service of the pleading upon the party or upon
        the court’s own initiative at any time, the court may
        order stricken from any pleading any insufficient defense

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        or any redundant, immaterial, impertinent, or scandalous
        matter.

  Fed. R. Civ. P. 12(f).      The standard upon which a motion to strike

  is measured places a substantial burden on the moving party.                 “A

  motion to strike is a drastic remedy which is disfavored by the

  courts and infrequently granted.”           Clark v. Milam, 152 F.R.D. 66,

  70 (S.D. W. Va. 1993).      Generally, such motions are denied “unless

  the   allegations    attacked    have       no   possible   relation   to   the

  controversy and may prejudice the other party.”             Steuart Inv. Co.

  v. Bauer Dredging Constr. Co., 323 F. Supp. 907, 909 (D. Md. 1971).

  Moreover, “where there is any question of fact or any substantial

  question of law, the court should refrain from acting until some

  later time when these issues can be more appropriately dealt with.”

  United States v. Fairchild Indus., Inc., 766 F. Supp. 405 (D. Md.

  1991).

                               III.   Discussion

  A.    Motion for Leave to Amend

        This Court will treat CSX’s amended complaint as if it did not

  exceed the bounds of the leave to amend granted by the June 20,

  2007 order. Therefore, CSX’s later-filed motion to amend complaint

  will be denied as moot.

  B.    Motion to Dismiss Counts 1 through 4 of Amended Complaint

        1.    Counts 1 and 2: RICO

        The lawyer defendants assert numerous arguments in support of

  their motion to dismiss Counts 1 and 2 (respectively, civil RICO

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  and RICO conspiracy) of the amended complaint.              Because this Court

  believes that the statute of limitations issue raised by the lawyer

  defendants is dispositive as to those claims, it is unnecessary to

  reach the merits of their remaining arguments, except with respect

  to whether CSX has demonstrated pattern of racketeering activity.

        CSX’s civil RICO, 18 U.S.C. § 1962(c), and RICO conspiracy, 18

  U.S.C. § 1962(d), claims are governed by a uniform four-year

  statute of limitations period. See Agency Holding Corp. v. Malley-

  Duff & Assoc., 483 U.S. 143, 156 (1987).               The lawyer defendants

  argue that CSX’s claims in Counts 1 and 2 must fail because eight

  of the nine lawsuits that comprise the basis of those claims were

  filed more than four years before CSX filed its amended complaint

  in this case.       This Court agrees.

        In paragraph 71 of the amended complaint, CSX identifies nine

  instances     in     which    the   lawyer     defendants    allegedly    filed

  objectively        baseless    personal       injury   claims   against    CSX.

  Specifically, the Peirce Firm filed personal injury suits arising

  from asbestos exposure on behalf of the following individuals on

  the following dates: Gene Sanders, March 20, 2000; Ike Bronson and

  James Lackey, August 1, 2001; Robert Fisher, November 1, 2001;

  Willie Trice, November 9, 2001; Morris Collier, James Petersen and

  Donald Wiley, May 19, 2003; and Earl Baylor, February 21, 2006.

  With the exception of Earl Baylor’s lawsuit, each of the above

  suits were filed more than four years before July 5, 2007 (the date


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  of the amended complaint).                Additionally, three of the lawsuits

  were settled more than four years prior to the filing of the

  amended complaint.3

        CSX   argues       that   it   is    inappropriate         for    this   Court    to

  determine whether CSX’s claims are time-barred upon a motion to

  dismiss.     CSX contends that application of the injury discovery

  accrual rule, which applies to CSX’s federal and state claims, is

  a fact-intensive determination.                    Although the date a cause of

  action began to accrue may in some cases raise a jury question,

  when the facts alleged in the complaint indicate that, with

  reasonable diligence, the plaintiff should have uncovered the

  alleged injury prior to the limitations period, the claim will be

  time-barred    as    a    matter     of    law.        In   re   Merrill      Lynch   Ltd.

  Partnerships     Litigation,         7    F.       Supp.    2d   256,   266    (S.D.N.Y.

  1997)(citations omitted) (granting motion to dismiss RICO claims on

  statute of limitations grounds); Childers Oil Co., Inc. v. Exxon

  Corp., 960 F.2d 1265, 1273 (4th Cir. 1992) (affirming grant of

  summary judgment where West Virginia common law fraud claim was

  time-barred).       The injury discovery rule provides that, for the

  purpose of applying the relevant statute of limitations, the

  limitations clock begins to run when a plaintiff knows or should

  know of his or her injury.                Rotella v. Wood, 528 U.S. 549, 553


        3
        Gene Sanders’ claim was settled on August 1, 2002.     Ike
  Bronson’s and James Lakey’s claims were settled on June 26, 2003
  and November 17, 2002, respectively.

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  (2000)(affirming application of injury discovery rule in RICO

  case); Pocahontas Supreme Coal Co., Inc. v. Bethlehem Steel Corp.,

  828 F.2d 211, 220 (4th Cir. 1987) (same); Stemple v. Dobson, 400

  S.E.2d 561, 565 (W. Va. 1990)(applying injury discovery rule in

  common law fraud case).          In this jurisdiction as in others,

  plaintiffs are required to exercise due diligence to ascertain the

  facts from which their claims arise.          See Childers, 960 F.2d at

  1272; Stemple, 400 S.E.2d at 565. “[W]hen a plaintiff is placed on

  notice of the probability of fraud, he has a duty to inquire, and

  he will be charged with all knowledge that he would have obtained

  had he exercised reasonable diligence.”         In re Merrill Lynch, 7 F.

  Supp. 2d at 266.

        In this case, CSX was on inquiry notice of the injuries

  alleged in Counts 1 and 2 when the nine allegedly fraudulent claims

  against it were filed and/or settled. Under case management orders

  implemented by the West Virginia Mass Litigation Panel, CSX and the

  employees represented by the Peirce Firm were required to undergo

  an early mediation process in an attempt to reach a settlement of

  most claims.     (Pl.’s Am. Compl. ¶ 107.)       Pursuant to a mediation

  order entered on September 6, 2001, CSX was given access to the

  original x-rays, medical records, and records maintained by the

  Railroad Retirement Board as to each claimant.           (Pl.’s Am. Compl.

  Ex. HH ¶ 13.)      The medical records that CSX had the ability to

  obtain included the Internal Labor Organization (“ILO”) forms which


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  listed Dr. Harron’s opinions regarding the quality of the x-ray and

  the severity of the injury observed.          (Pl.’s Am. Compl. Ex. M.)

  Additionally, CSX had the right to conduct depositions with respect

  to the claims of each plaintiff on an as-needed basis.           (Pl.’s Am.

  Compl. Ex. HH ¶ 15.)

        As CSX concedes, it was not required to discover both an

  injury and a pattern of RICO activity before the statute of

  limitations began to run in this case.              Rather, all that is

  required to begin the limitations clock is actual or inquiry notice

  that CSX was injured by the defendants.         Because CSX had access to

  the medical information upon which the claimant’s lawsuits were

  based soon after the filing of each of the nine suits, CSX is

  charged with notice of its injuries on or substantially near the

  date those cases were filed.4        Accordingly, because eight of the

  nine cases were filed prior to May 19, 2003, more than four years

  prior to date the amended complaint was filed, Counts 1 and 2 are

  time-barred and must be dismissed.

        The fact that one case was filed within the limitations period

  (Earl Baylor’s lawsuit) does not change this result.             To state a

  civil RICO or RICO conspiracy claim, a plaintiff must show a

  “pattern of racketeering activity.”            18 U.S.C. § 1961(5).        A

  “pattern of racketeering activity” requires a showing of at least


        4
        At the very least, on the face of the amended complaint, CSX
  knew or should have known it was injured prior to settling three of
  the nine cases.

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   two acts of racketeering activity.          Id.   Because only one alleged

   act of racketeering activity is not time-barred, CSX has failed to

   show the requisite pattern to sustain its RICO claims.

         2.    Counts 3 and 4: Common Law Fraud and Civil Conspiracy

         The   foregoing   statute   of    limitations    analysis   similarly

   applies to Counts 3 and 4 of the amended complaint.           CSX’s common

   law fraud and civil conspiracy claims are governed by the two-year

   “catch-all” statute of limitations found in West Virginia Code

   § 55-2-12.5   See Alpine Property Owners Assoc. Inc. v. Mountaintop

   Development Co., 365 S.E.2d 57, 66 (W. Va. 1987).            West Virginia

   also applies the injury discovery rule to the instant state claims.

   See Stemple, 400 S.E.2d at 565. Because eight of the nine lawsuits

   relied upon by CSX to establish its state claims were filed more

   than two years before the amended complaint was filed in this case,

   reliance on those suits is time-barred. The one remaining lawsuit,

   which was filed on behalf of Earl Baylor on February 21, 2006, is


         5
          West Virginia Code § 55-2-12 provides:

         Every personal action for which no limitation is
         otherwise prescribed shall be brought: (a) Within two
         years next after the right to bring the same shall have
         accrued, if it be for damage to property; (b) within two
         years next after the right to bring the same shall have
         accrued if it be for damages for personal injuries; and
         (c) within one year next after the right to bring the
         same shall have accrued if it be for any other matter of
         such nature that, in case a party die, it could not have
         been brought at common law by or against his personal
         representative.
   W. Va. Code § 55-2-12.

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   not time-barred because it was filed less than two-years before

   July 5, 2007. Unlike CSX’s RICO claims, which require a showing of

   a pattern of racketeering activity, CSX’s state law claims can be

   supported by a single instance of fraud and/or conspiracy.                         Thus,

   the lawyer defendants’ other arguments in support of dismissal must

   be considered as to Counts 3 and 4.

           First, the lawyer defendants’ contend that CSX has failed to

   plead        a    claim   for   common   law        fraud6   with   the     requisite

   particularity and that the common law fraud count fails to state a

   claim.       Federal Rule of Civil Procedure 9(b) requires that “[i]n

   alleging fraud or mistake, a party must state with particularity

   the circumstances constituting fraud or mistake.”                   Fed. R. Civ. P.

   9(b).       Following consideration of the allegations in Count 3 along

   with paragraphs 1 through 95 as realleged in paragraph 96, this

   Court believes that CSX has set forth a claim for common law fraud

   with sufficient specificity and has stated a claim upon which

   relief can be granted.

           To       the   extent   that   the        lawyer   defendants     attack     the

   sufficiency of the pleadings on CSX’s civil conspiracy claim, the

   challenge is also without merit.                  Count 4 is subject only to the


           6
         Under West Virginia law, the essential elements in an action
   for fraud are: (1) the act claimed to be fraudulent was the act of
   the defendant or induced by him; (2) that it was material and
   false; (3) that the plaintiff relied upon it and was justified
   under the circumstances in relying upon it; and (4) that the
   plaintiff was damaged. Ashworth v. Albers Med., Inc., 410 F. Supp.
   2d 471, 477 (S.D. W. Va. 2005).

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   notice pleading requirements of Federal Rule of Civil Procedure

   8(a).    Under Rule 8, a plaintiff is required to make only a “short

   and plain statement of the claim showing that the pleader is

   entitled to relief.”          Fed. R. Civ. P. 8(a)(2).            To meet this

   standard, the plaintiff’s “[f]actual allegations must be enough to

   raise a right to relief about the speculative level” and the

   plaintiff must show that the grounds of his or her claim constitute

   “more than labels and conclusions, and a formulaic recitation of

   the elements.”       Bell Atlantic Corp. v. Twombly, 127 S. Ct. 1955,

   1965 (2007).     To establish a claim for civil conspiracy in West

   Virginia, “it must be proved that the defendants have committed

   some wrongful act or have committed a lawful act in an unlawful

   manner to the injury of the plaintiff.”            Cook v. Heck’s Inc., 342

   S.E.2d 453, 460 (W. Va. 1986).               CSX alleges that the lawyer

   defendants and Dr. Harron conspired to commit fraud as alleged in

   Count 3.    To recover for conspiracy, CSX must prove the underlying

   fraud.    See Roney v. Gencorp, 431 F. Supp. 2d 622, 638 (S.D. W. Va.

   2006).    Because CSX has sufficiently alleged the underlying fraud,

   the Court will not dismiss its conspiracy claim as insufficiently

   pled.

           Next, the lawyer defendants contend that CSX’s claims are

   precluded    under    the    Noerr-Pennington      doctrine.       The    Noerr-

   Pennington    doctrine      provides   a    potential   defense    of   immunity

   against civil liability to those who exercise their First Amendment


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   right       to    petition    the   government     for   redress   of   grievances,

   provided that the petitioning activity is not a sham. Professional

   Real Estate Investors, Inc. V. Columbia Picture Indus., Inc, 508

   U.S. 49, 56-57 (1993).              Litigation is a “sham” if the underlying

   lawsuit was (1) objectively baseless and (2) subjectively intended

   to abuse process.            Id. at 60-61.    Assuming, without deciding, that

   the Noerr-Pennington doctrine is even applicable in this case,

   dismissal based on the doctrine would be premature.                 CSX’s amended

   complaint contains sufficient allegations to support the sham

   exception.7         However, the application of the sham exception is a

   factual          question    that   cannot    be   answered   at   this   stage   of

   litigation.         Accordingly, the lawyer defendant’s motion to dismiss

   is denied as to Counts 3 and 4 of the amended complaint.

   C.      Motion to Strike and Motion to Dismiss Count 6

           The Peirce Firm requests that paragraphs 1 through 102, 103,

   144, 153, and 179 of the amended complaint be struck from the

   complaint pursuant to Federal Rule of Civil Procedure 12(f) because

   they allegedly contain “immaterial, impertinent, or scandalous

   matter.”         This Court finds that the Peirce Firm has failed to meet

   its substantial burden in supporting a Rule 12(f) motion to strike.

   Accordingly, because these allegations will not be stricken, the




           7
         Specifically, CSX alleges that the personal injury claim
   filed on behalf of Earl Baylor was objectively baseless and that
   the defendants knew that no good faith basis existed for the claim.

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   Peirce Firm’s motion to dismiss Count 6 of the amended complaint is

   also denied.

                                IV.   Conclusion

         For the above-stated reasons, this Court makes the following

   rulings: The motion of Robert Peirce, Jr., Louis A. Raimond and

   Mark Coulter to dismiss Counts 1 through 4 of plaintiff’s amended

   complaint is GRANTED as to Counts 1 and 2 and DENIED as to Counts

   3 and 4; The Peirce Firm’s motion to dismiss Count 6 of the amended

   complaint or alternatively to strike paragraphs 1 through 102, 103,

   144, 153, and 179 of the plaintiff’s amended complaint is DENIED;

   Defendant Gilkison’s motion to join in the motions, memoranda and

   replies of co-defendants, as applicable is DENIED as untimely; and

   CSX’s motion for leave to amend complaint is DENIED AS MOOT.

   Further, CSX’s motion for oral argument is DENIED because the

   briefs submitted by counsel for the plaintiff and the defendant

   were sufficient to aid this Court’s decision.

         IT IS SO ORDERED.

         The Clerk is DIRECTED to transmit a copy of this memorandum

   opinion and order to counsel of record herein.

         DATED:     March 28, 2008



                                      /s/ Frederick P. Stamp, Jr.
                                      FREDERICK P. STAMP, JR.
                                      UNITED STATES DISTRICT JUDGE




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